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              IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF OKLAHOMA

BRANDON LEE                    )
DEATHERAGE,                    )
                               )
         Petitioner/Defendant, )
                               )
v.                             )            Case No. 16-CV-484-JHP
                               )            Criminal Case No. 15-CR-68-2-JHP
UNITED STATES OF AMERICA, )
                               )
         Respondent/Plaintiff. )

                           OPINION AND ORDER

      Before the Court is Petitioner/Defendant Brandon Lee Deatherage’s

(“Defendant”) motion to vacate, set aside, or correct sentence by a person in

federal custody brought pursuant to 28 U.S.C. § 2255 (Dkt. 1; Dkt. 250 in Case

No. 15-CR-68-2). The Government has filed a sealed Response in Opposition

(Dkt. 6). Defendant seeks relief based on Amendment 794 to the United States

Sentencing Guidelines (“USSG”).       For the reasons cited herein, Defendant’s

motion pursuant to § 2255 is DENIED.

                               BACKGROUND

      On November 9, 2015, pursuant to a written plea agreement, Defendant

pleaded guilty to the charge of Drug Conspiracy in violation of 21 U.S.C. §§ 846,

841(a)(1) and 841(b)(1)(A) (Count One).      (Dkt. 97 in Case No. 15-CR-68-2
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(Minutes of Change of Plea Hearing)). At that time, the Government agreed to

dismiss Count Three against Defendant at sentencing. (Id.).

       In advance of sentencing, the United States Probation Office prepared a

Presentence Investigation Report (“PSR”) as to Defendant on January 28, 2016,

based on the 2015 USSG Manual.           The PSR did not recommend a “minor

participant” reduction, which grants a two point reduction to defendants who are

found to be “substantially less culpable than the average participant in the criminal

activity.”    USSG § 3B1.2, comment n. 3(A) (2015).               (See PSR ¶ 38

(recommending no adjustment for Defendant’s role in the offense)). Neither the

Government nor the Defendant objected to the PSR.

       On June 9, 2016, the Court sentenced Defendant to 92 months imprisonment

on Count One, and the Government dismissed the remaining count. (Dkt. 240 in

Case No. 15-CR-68-2 (Judgment)).          Defendant did not directly appeal his

conviction or sentence.    Nonetheless, Defendant filed this § 2255 motion on

November 3, 2016. In the motion, Defendant argues he is entitled to a “minor

role” reduction based on Amendment 794 to the USSG and the Ninth Circuit’s

interpretation of that Amendment in United States v. Quintero-Levya, 823 F.3d 519

(9th Cir. 2016).    Defendant argues he deserves a reduction for his minimal

participation, because he was not determined to be a leader, organizer, or manager.

(Dkt. 1, at 4).


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                                 DISCUSSION

      A federal prisoner may obtain relief under § 2255 only if his sentence (1)

was imposed in violation of the Constitution or federal laws, (2) was imposed by a

court without jurisdiction to do so, (3) was in excess of the maximum permitted by

the law, or (4) is otherwise subject to attack.    28 U.S.C. § 2255(a).     Here,

Defendant does not raise any possible grounds for reexamination of his sentence

under 28 U.S.C. § 2255.

      Amendment 794 is not retroactive in § 2255 collateral proceedings under the

sentencing guidelines, federal statutes, or Tenth Circuit precedent. See United

States v. Harrison, 2016 WL 6310768, at *2 (N.D. Okla. Oct. 27, 2016).

Amendment 794 amended the commentary to U.S.S.G. § 3B1.2, the “mitigating

role” guideline. Section 1B1.10(d) of the USSG lists all amendments eligible for

retroactive effect. See USSG § 1B1.10(a). Amendment 794 is not listed among

those amendments that can subsequently lower an applicable guideline range.

Because Amendment 794 is not listed, a retroactive sentence reduction is not

authorized. See United States v. Fouse, 2016 WL 4516066, at *2 (N.D. Okla. Aug.

29, 2016).

      Defendant seeks to reopen his sentencing pursuant to United States v.

Quintero-Levya, 823 F.3d 519 (9th Cir. 2016). In Quintero-Levya, the Ninth

Circuit held that Amendment 794 “applies retroactively in direct appeals.” 823


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F.3d at 521. The Ninth Circuit expressly declined to examine whether a defendant

who has exhausted his or her direct appeal can move to reopen sentencing

proceedings under Amendment 794. Id. at 521 n.1. Defendant’s § 2255 motion

seeks collateral review of his sentence; it is not a direct appeal. Defendant did not

appeal his sentence. Even if it were applicable to Defendant’s situation, Quintero-

Levya was decided in another jurisdiction and therefore has no controlling effect

on this Court.      Accordingly, the ruling in Quintero-Levya does not apply to

Defendant’s request for collateral review of his sentence under § 2255.

       Finally, the Court notes that Amendment 794 took effect on November 1,

2015. USSG app. C suppl., amend. 794 at 118 (2015). Defendant’s final PSR was

prepared on January 28, 2016, and Defendant was sentenced on June 9, 2016. The

2015 Guidelines Manual, which incorporated Amendment 794, was used to

determine Defendant’s sentence, including his role in the offense. (See PSR ¶ 33).

Defendant did not object to the PSR. Therefore, Defendant already received the

benefit of the amended commentary accompanying the “minor participant”

guideline. Defendant’s motion is denied.1

                               EVIDENTIARY HEARING

       This Court is required by § 2255 to hold an evidentiary hearing “[u]nless the

motion and the files and records of the case conclusively show that the prisoner is

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  Because it is not necessary to disposition of Defendant’s motion, the Court will not address the
remaining arguments presented in the Government’s response brief.

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entitled to no relief.” 28 U.S.C. § 2255(b). See also United States v. Marr, 856

F.2d 1471, 1472 (10th Cir. 1988). With this standard as a guide, the Court has

thoroughly reviewed the pleadings, files, and record in this case, and from that

review, the Court finds the record conclusively shows that Defendant is entitled to

no relief on his claims and an evidentiary hearing is unnecessary.

                     CERTIFICATE OF APPEALABILITY

      Rule 11 of the Rules Governing Section 2255 Proceedings instructs that

“[t]he district court must issue or deny a certificate of appealability when it enters a

final order adverse to the applicant.” Pursuant to 28 U.S.C. § 2253, the court may

issue a certificate of appealability “only if the applicant has made a substantial

showing of the denial of a constitutional right,” and the court “indicate[s] which

specific issue or issues satisfy [that] showing.”       A petitioner can satisfy that

standard by demonstrating that the issues raised are debatable among jurists, that a

court could resolve the issues differently, or that the questions deserve further

proceedings. Slack v. McDaniel, 529 U.S. 473, 483-84 (2000) (citing Barefoot v.

Estelle, 463 U.S. 880, 893 & n.4 (1983)). After considering the record in this case,

the Court concludes a certificate of appealability should not issue, as Defendant

has not made a substantial showing of the denial of a constitutional right. The

record is devoid of any authority suggesting that the Tenth Circuit Court of

Appeals would resolve the issues in this case differently.


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                               CONCLUSION

      For the foregoing reasons, Defendant Brandon Lee Deatherage’s “Motion

Pursuant to 28 U.S.C. § 2255 to Vacate Set Aside [sic] Sentence in Light of

Retroactive Effect of the Clarifying Amendment (794)” (Dkt. 1, Dkt. 250 in Case

No. 15-CR-68-2) is DENIED.

      IT IS SO ORDERED this 3rd day of May, 2018.




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